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       EXHIBIT A
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                                            AGREED CONSTRUCTIONS

     Claim Term/Phrase         Parties’ Agreed Construction              Where Term Appears In         Court’s Construction
                                                                             Asserted Claims
“sanitary compliance zone”     “the portion of water, within           ’520 patent—Claims 1 and 16   AGREED
                               the large water body, which is
                               established for recreational
                               purposes, and required to
                               comply with specific
                               microbiological sanitary
                               conditions, when used for
                               recreational purposes or when
                               it is needed”
“flocculating agent”           “chemical substance or                  ’822 patent—Claims 1 and 7    AGREED
                               compound that promotes the
                               combination, agglomeration, or
                               coagulation of suspended
                               particles”
“cationic polymer”             “polymer bearing a positive             ’822 patent—Claim 7           AGREED
                               charge or incorporating
                               cationic functional groups in its
                               structure”
“precipitated impurities”      “material that is forced out of a       ’822 patent—Claim 1           AGREED
                               solution by some chemical
                               reaction”
“coupling means”               “coupler”                               ’514 patent—Claim 1           AGREED




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                                               DISPUTED CONSTRUCTIONS


                           Defendant’s Proposed         Plaintiffs’ Proposed      Where Term Appears
Claim Term/Phrase               Construction                                                            Court’s Construction
                                                            Construction           In Asserted Claims
“walls”                 “substantially vertical       Plain and ordinary          ’514 Patent—Claims
                        surface of the structure”     meaning.                    1 and 7
                                                                                  ’822 Patent—Claim 1
                                                      If a construction is
                                                      required: “structure that
                                                      serves to hold back
                                                      pressure.”




“covered with a         “with a uniform plastic liner Plain and ordinary          ’514 Patent—Claim 1
plastic liner made of   made of a non-porous          meaning.
non-porous material     material forming the exposed
able to be thoroughly   surface such that the exposed
cleaned”                plastic liner can be
                        thoroughly cleaned”




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                         Defendant’s Proposed            Plaintiffs’ Proposed        Where Term Appears
Claim Term/Phrase             Construction                                                                 Court’s Construction
                                                             Construction             In Asserted Claims
“fresh water feeding “new intake water feeding         Plain and ordinary            ’514 Patent—Claim 1
pipe system that      pipe system that allows          meaning.
allows entrance of    entrance of new intake water
fresh water and       into the structure and results   If a construction of “fresh
results in water      in elimination of a              water” is required: “new
removal by            substantially equivalent         water”
displacement of       amount of water from the
surface water through structure by displacement of
the skimmer system” surface water through the
                      skimmer system”

“feeding the water      “feeding the water body with   Plain and ordinary            ’822 Patent—Claim 1
body with inlet water   new intake water to generate   meaning.
to generate             displacement of surface
displacement of         water … and elimination of a   If a construction of “fresh
surface water … and     substantially equivalent       water” is required: “new
removing displaced      amount of displaced surface    water”
surface water using     water from the structure
the skimmers”           using the skimmers”




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                          Defendant’s Proposed              Plaintiffs’ Proposed     Where Term Appears
Claim Term/Phrase               Construction                                                               Court’s Construction
                                                                Construction          In Asserted Claims
“pumping system”       “pump and associated piping        Plain and ordinary         ’514 Patent—Claim 1
                       connected to a moveable            meaning.
                       suction device to remove
                       settled debris and suspended       If a construction is
                       solids from the surface of the     required: “suction pump”
                       plastic liner by suction of
                       water mixed with the debris
                       and suspended solids and
                       disposal of that water mixed
                       with debris suspended solids,
                       removing them from the
                       structure”
“moveable suction      “cleaning device for removal       Plain and ordinary         ’514 Patent—Claim 1
device”                of debris and suspended            meaning.                   ’822 Patent—Claim 1
                       solids that completely
                       replaces a traditional filtering   If a construction is
                       system together with the use       required: “vacuum”
                       of flocculants”




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                            Defendant’s Proposed           Plaintiffs’ Proposed Where Term Appears
Claim Term/Phrase                Construction                                                               Court’s Construction
                                                                Construction       In Asserted Claims
“delimiting zone”        “a virtual zone that delimits   “a virtual zone that     ’520 patent—Claim 1
                         the sanitary compliance zone    delimits the sanitary-
                         from the rest of the water      compliant zone, and does
                         body that is not treated”       not require a physical
                                                         barrier”




“determining salinity    “testing or measuring the       Plain and ordinary           ’520 Patent—Claim 1
of the water at the      salinity of the water at the    meaning.
most unfavorable         most unfavorable zone” /
zone” / “determining     “testing or measuring the       If a construction is
the temperature of the   temperature of the water in     required, “determining”
water in the most        the most unfavorable zone”      should be construed to
unfavorable zone”                                        mean “to find out or
                                                         come to a decision about
                                                         by investigation,
                                                         reasoning, or calculation”




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                         Defendant’s Proposed           Plaintiffs’ Proposed       Where Term Appears
Claim Term/Phrase             Construction                                                               Court’s Construction
                                                            Construction            In Asserted Claims
“determining the      “performing the provided        Plain and ordinary           ’520 Patent—Claim 1
minimum ORP value calculation or choice for the       meaning.
based on the salinity minimum ORP value
of the water” /       governed by the salinity of     If a construction is
“determining the      the water at the most           required, “determining”
minimum period of     unfavorable zone” /             should be construed to
time based on the     “performing the provided        mean “to find out or
water temperature”    calculation or choice for the   come to a decision about
                      minimum period of time          by investigation,
                      governed by the water           reasoning, or calculation”
                      temperature in the most
                      unfavorable zone”
“portion of water     “part of the entire water       Plain and ordinary           ’520 Patent—Claims
[within a water       body”                           meaning.                     1, 9, and 14
body]”




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